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                EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
   _________________________________________
                                             :
   IN RE: AUTOMOTIVE PARTS ANTITRUST         : Master File No. 12-md-02311
   LITIGATION                                :
                                             : Honorable Marianne O. Battani
   _______________________________________   :
                                             :
   ALL PARTS EXCEPT                          :
   IN RE WIRE HARNESS SYSTEMS                :
   _______________________________________   :
                                             :
   THIS DOCUMENT RELATES TO:                 :
                                             : 2:12-cv-00200-MOB-MKM –
   All Cases                                 : 2:15-cv-03000-MOB-MKM
   _______________________________________   : All Cases to be Filed

              [PROPOSED] UNIFORM DEPOSITION PROTOCOL ORDER

         IT IS HEREBY ORDERED as follows:

   I.    SCOPE OF ORDER

         A.    This Uniform Deposition Protocol Order shall apply to all depositions noticed

               under Rule 30, other than (1) depositions of witnesses governed by the Wire

               Harness Deposition Protocol entered in In re Wire Harnesses, Case No. 2:12-cv-

               00100, and (2) depositions of End Payor Plaintiffs and Auto Dealer Plaintiffs,

               which shall be governed by the End Payor Plaintiff and Auto Dealer Plaintiff

               Deposition Protocol Order entered in In re Automotive Parts Antitrust Litigation,

               Master File No. 2:12-md-02311-MOB-MKM (“Auto Parts Cases”), and all

               depositions subpoenaed under Rule 45 of the Federal Rules of Civil Procedure in

               all cases, currently or in the future, consolidated or coordinated into the Auto

               Parts Cases. Nothing contained in this Uniform Deposition Protocol Order shall




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               confer Rule 30 or 45 deposition rights on any party that does not have such rights

               under the Federal Rules of Civil Procedure.

         B.    The provisions of the Initial Discovery Plan entered by the Court on July 10, 2012

               (12-md-02311, ECF #201) (“Initial Discovery Plan”) and the First Supplemental

               Discovery Plan, ECF #224 relating to depositions shall apply unless expressly

               stated herein.

   II.   DEFINITIONS

         A.    “Auto Part Product” shall mean the specific auto part to which each Lead Case (as

               defined in the July 3, 2014 Electronic Case Management Protocol Order, 2:12-

               md-02311, ECF #753 (“ECF Protocol”)) in In re Automotive Parts Antitrust

               Litigation, is related, and includes those auto parts identified in the ECF Protocol

               (e.g. wire harnesses, instrument panel clusters, fuel senders, heater control panels,

               bearings, etc.).

         B.    “Auto Parts Cases” shall mean all cases that are, currently or in the future,

               consolidated or coordinated into In re Automotive Parts Antitrust Litigation.

         C.    “Plaintiff Groups” shall mean each group of Plaintiffs that currently has a

               complaint pending in the Auto Parts Cases, including End Payor Plaintiffs, Auto

               Dealer Plaintiffs, Direct Purchaser Plaintiffs, Truck Dealer Plaintiffs, and any

               other group of Plaintiffs that files a complaint in the future that is coordinated or

               consolidated into the Auto Parts Cases.

         D.    “Individual Participant” shall mean an individual plaintiff whose case has been, or

               is in the future, coordinated or consolidated into the Auto Parts Cases.




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          E.     “Plaintiff” or “Plaintiffs” when used alone shall refer collectively to Plaintiff

                 Groups and Individual Participants.

          F.     “Defendants” shall mean all entities named as defendants in the Auto Parts Cases

                 currently and in the future.

          G.     “Defendant Group” shall mean each group of Defendants in an Auto Part Product

                 case represented by separate counsel (e.g., DENSO, Mitsuba, Mitsubishi Electric,

                 etc.) in the Auto Parts Cases.

   III.   NUMBER AND LENGTH OF DEPOSITIONS

          A.     The following limits shall apply to depositions of fact witnesses, other than

                 pursuant to Rule 30(b)(6)1, except as noted below:

                 1.     Plaintiffs collectively may take up to fifteen (15) depositions of each

                        Defendant Group in each Auto Part Product case. If a Defendant Group is

                        (a) named in more than one Auto Part Product case and (b) represents in

                        writing that two or more Auto Part Product cases in which the Defendant

                        Group is named arises out of the same conspiracy, Plaintiffs collectively

                        may take up to ten (10) depositions of that Defendant Group in each of the

                        Auto Part Product cases that arises out of the same conspiracy. For

                        example, Plaintiffs collectively may take twenty (20) depositions of a

                        certain Defendant Group named in both the Switches and Steering Angle

                        Sensors Cases if that Defendant Group represents in writing that these two




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    For purposes of Paragraph III regarding the number and length of fact witness depositions,
   “Defendant Group” shall be construed to include all former and current employees of Defendant
   Groups, regardless of whether those individuals are represented by separate counsel.
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                     cases arise out of the same conspiracy. Plaintiffs will pay for the

                     witnesses’ reasonable travel expenses as provided in Paragraph IV.B.

               2.    The number of depositions of any Individual Participant that may be taken

                     in that Individual Participant’s case will be established through a separate

                     agreement or order after sufficient preliminary discovery has occurred

                     regarding that Individual Participant to permit the parties in that case to

                     agree on, or the Court to order, a reasonable number of depositions of that

                     Individual Participant.

               3.    The number of depositions of the Truck Dealer Plaintiffs will be

                     established through a separate agreement or order after sufficient

                     preliminary discovery has occurred regarding the Truck Dealer Plaintiffs

                     to permit the parties in that case to agree on, or the Court to order, a

                     reasonable number of depositions of the Truck Dealer Plaintiffs.

               4.    Defendants collectively may take up to three (3) depositions under Rule

                     30(b)(1) of each Direct Purchaser Plaintiff.

               5.    Any party may seek leave to take additional depositions for good cause

                     shown.

               6.    Notwithstanding the above, each party reserves its right to object to any

                     particular deposition or to object on the ground that the number of

                     depositions for that particular party should be fewer than the number

                     specified above.

         B.    A witness may be deposed only once in each of the Auto Part Products cases,

               except if necessary for a party to revoke an earlier assertion of the Fifth


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               Amendment, by agreement of the parties, or by order of the Court based on a

               showing of good cause. Notwithstanding the foregoing, a party may depose as a

               fact witness under Rule 30(b)(1) or Rule 45 an individual who has been

               previously deposed or will be deposed solely as a corporate representative of a

               party under Rule 30(b)(6).

         C.    Allocation of time:

               1.     Time limitations for depositions shall be governed by Paragraph 7 of the

                      Initial Discovery Plan, except as modified herein.

               2.     Notwithstanding the time limitations contained herein, or in Paragraph 7

                      of the Initial Discovery Plan, counsel for parties that are not on the same

                      side as the party that served the deposition notice or subpoena that has not

                      been cross-noticed may examine the witness in response to issues that

                      arise during the deposition. Absent other agreement, in addition to the

                      thirteen (13) hours for translated depositions and seven (7) hours for

                      English language depositions available to the serving side, for each

                      deposition that is in English, the non-serving side shall be entitled to one

                      (1) additional hour of time to question the witness, and for each deposition

                      that is in a language other than English, the non-serving side shall be

                      entitled to two (2) additional hours of time to question the deponent. The

                      time allocated to parties that are on the opposite side from the party that

                      served the notice or subpoena shall not be reduced by any notices or cross-

                      notices served by parties on the same side as the party that served the

                      notice or subpoena. For purposes of all depositions, all Defendants are


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                      considered to be on the same side and all Plaintiffs are considered to be on

                      the same side.

               3.     Plaintiffs and Defendants shall separately meet and confer to allocate the

                      time allotted by this Paragraph III(C) to their respective sides.

               4.     The court-reporter service shall maintain a total running time for

                      depositions to ensure compliance with the time limitations set forth in this

                      Paragraph III(C). The total running time does not include breaks taken

                      during a deposition.

               5.     Subject to negotiations, if any party serves a subpoena, notices, or cross-

                      notices a deposition that the other side has already subpoenaed or noticed

                      of a witness who is not a party to the Auto Parts Cases, the deposition time

                      shall be doubled (e.g., a seven (7)-hour deposition would become a

                      fourteen (14)-hour deposition), although neither side may use more than

                      seven (7) hours. Service of additional cross-notices shall not further

                      increase the time for the deposition.

   IV.   NOTICING AND SCHEDULING DEPOSITIONS

         A.    Depositions shall be noticed pursuant to the Federal Rules of Civil Procedure for

               a proposed date and location, subject to the provisions in Paragraph III, Paragraph

               IV(B) below and Paragraph 7 of the Initial Discovery Plan. The party that serves

               the deposition notice (the “Serving Party”) shall serve the notice on all parties to

               the Auto Parts Cases via email at least thirty (30) days prior to the date of the

               deposition if that deposition will be taken in the United States and at least sixty

               (60) days prior to the date of the deposition if that deposition will be taken outside


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               the United States. Any subpoenas for deposition testimony shall be served as

               required by law, but copies shall be served via email on all parties to the Auto

               Parts Cases.

         B.    Other than the witnesses identified in stipulations whose depositions certain

               Defendants agree will take place in the United States, Defendants will arrange for

               the majority of their witnesses’ depositions to occur in one of the following cities:

               Hong Kong; Seoul; Taipei; Honolulu; New York City; San Francisco; Los

               Angeles; Portland, OR; Seattle; Washington DC; Chicago or Detroit; or such

               other city to be agreed upon by the parties. Plaintiffs will pay said witnesses’

               economy class fares and reasonable travel costs incurred by witnesses, such as

               lodging and meal expenses up to a limit of $450 per day, associated with any such

               depositions that occur in a city within the United States, other than the depositions

               of witnesses identified in prior stipulations that certain Defendants agree will take

               place in the United States. No witness who lives in the United States at the time

               his deposition is noticed shall select a location for his deposition that is outside of

               the United States, and Plaintiffs will not be responsible for paying the expenses

               for witnesses who live in the United States.

         C.    Service of a deposition notice or subpoena on a witness by a Plaintiff shall be

               sufficient to allow all Plaintiffs to attend and participate in the deposition of that

               witness according to the terms of this Order, and service of a deposition notice or

               subpoena on a witness by a Defendant shall be sufficient to allow all Defendants

               to attend and participate in the deposition of that witness according to the terms of

               this Order. In the event that a serving Defendant Group settles or is otherwise


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               dismissed from the action, any other Defendant who would have had a right to

               serve the initial notice or subpoena may enforce the notice or subpoena as if it had

               served the notice or subpoena. Likewise, in the event that a serving Plaintiff

               settles with the Defendant Group with which the witness is affiliated, or a serving

               Plaintiff otherwise withdraws or its claims are dismissed from the Auto Parts

               Cases, any other Plaintiff who would have had a right to serve the notice or

               subpoena may enforce the notice or subpoena as if it had served the notice or

               subpoena. To enforce a notice or subpoena of a settling or dismissed party, the

               enforcing party, within seven (7) days of being notified of the relevant settlement

               or dismissal, must notify the noticed witness that it intends to enforce the settling

               or dismissed party’s notice or subpoena.

         D.    Within fifteen (15) days prior to the date of the deposition, any party that intends

               to attend a deposition shall notify counsel for the party that served the deposition

               notice or subpoena and counsel for the witness that it intends to attend the

               deposition. Because the purpose of this notice is to ensure the availability of

               space for all parties that intend to attend depositions, this provision will not

               preclude a party from attending a deposition in person without advance notice if

               the Serving Party confirms that there is enough space for the party to attend and

               the party gives some notice.

         E.    Within ten (10) days of service of a properly served deposition notice or

               subpoena, the recipient shall provide notice to the Serving Party as to whether the

               recipient intends to object to the notice and/or move for a protective order or file a

               motion to quash. Within twenty-one (21) days of service of a properly served


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               deposition notice or subpoena, either under Rule 30(b)(1), Rule 30(b)(6) or Rule

               45, the recipient shall assert any objections to the notice and/or move for a

               protective order or move to quash. If a motion for protective order, objections or

               motion to quash are filed, the deposition shall be stayed pending resolution of the

               motion or objections. If the recipient does not serve notice that it intends to file a

               motion for a protective order, objections or a motion to quash then within ten (10)

               days of receipt of a deposition notice, the recipient shall either confirm the date of

               the deposition as set forth in the notice or shall provide three (3) proposed

               alternate dates for the deposition within thirty-five (35) days of the originally

               noticed date.

          F.   All parties that have provided notice that they intend to attend a deposition

               pursuant to Paragraphs IV(C) and (D) of this section shall cooperate in good faith

               in scheduling the deposition.

          G.   Plaintiffs and Defendants shall each designate one or more counsel responsible to

               create and maintain a master deposition calendar to be updated regularly with any

               changes as a result of meet and confer efforts regarding scheduling depositions.

               The master deposition calendar shall set forth each deponent’s name and

               affiliation, the location and anticipated length (number of hours and days) of the

               deposition, the identity of the Serving Party, and whether an interpreter has been

               requested.      Beginning when the first deposition is scheduled, the master

               deposition calendar will be distributed via email to all Plaintiffs and Defendants

               on a weekly basis.




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          H.   In the event that a current or former employee of a Defendant, Direct Purchaser

               Plaintiff, or Individual Participant who has received a notice for a deposition is

               likely to be deposed in connection with another Auto Part Product case, the

               parties shall use their best efforts to coordinate so as to attempt to avoid multiple

               depositions of the same witness where the issue has been brought to their

               attention by the relevant Defendant, Direct Purchaser Plaintiff, or Individual

               Participant.

               1.     For a Defendant to effectuate this paragraph, the Defendant whose current

                      or former employee(s) are to be deposed and who wants to avoid multiple

                      depositions shall either (i) make available to the Serving Party all relevant

                      documents, the equivalent of the information provided in response to

                      Direct Purchaser Plaintiffs’ First Set of Interrogatories to All Defendants

                      Nos. 3, 7, 8, 9, and 10 concerning such current or former employee(s)’s

                      role(s) in relation to other Auto Part Products, and any other information

                      agreed upon by the parties sufficiently in advance of the deposition to

                      permit a proper examination or (ii) have already responded to

                      interrogatories and produced documents in the later Auto Part Product

                      case sufficiently in advance of the deposition to permit a proper

                      examination.

               2.     For a Direct Purchaser Plaintiff to effectuate this paragraph, the Direct

                      Purchaser Plaintiff whose current or former employee(s) are to be deposed

                      and who wants to avoid multiple depositions shall either (i) make

                      available to the Serving Party all relevant documents, the equivalent of the


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                      information provided in response to Sumitomo’s First Set of Document

                      Requests to Direct Purchasers, Sumitomo’s First Set of Interrogatories to

                      Direct Purchaser Plaintiffs, Yazaki’s First Set of Document Requests to

                      Direct Purchasers, and Yazaki’s First Set of Interrogatories To Direct

                      Purchaser Plaintiffs, and any other information agreed upon by the parties

                      sufficiently in advance of the deposition to permit a proper examination or

                      (ii) have already responded to interrogatories and produced documents in

                      the later Auto Part Product case sufficiently in advance of the deposition

                      to permit a proper examination.

               3.     For an Individual Participant to effectuate this paragraph, the Individual

                      Participant whose current or former employee(s) are to be deposed and

                      who wants to avoid multiple depositions shall either (i) make available to

                      the Serving Party any information agreed upon by the parties sufficiently

                      in advance of the deposition to permit a proper examination or (ii) have

                      already responded to interrogatories and produced documents in the later

                      Auto Part Product case sufficiently in advance of the deposition to permit

                      a proper examination.

               4.     The parties shall then meet and confer to seek agreement on reasonable

                      additional time limits, if necessary, for such depositions.

          I.   Any deposition that is expanded pursuant to Paragraph 7 of the Initial Discovery

               Plan or Paragraph V(C) must take place over consecutive days.




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          J.   No more than one deposition of a witness from the same Defendant Group,

               Individual Participant, or Direct Purchaser shall be taken on any one day absent

               agreement of the parties.

          K.   Plaintiffs may establish “employee lists” of no more than fifteen (15)

               custodians/witnesses per Defendant Group. For each custodian/witness identified

               by Plaintiffs, Defendants shall timely inform Plaintiffs in writing if they become

               aware that such person intends to leave, or does leave, his or her employment, to

               the extent reasonably possible. Upon Plaintiffs’ request, Defendants shall make

               that person available for deposition either before or after his or her departure, to

               the extent reasonably possible. Plaintiffs may make changes to their employee

               lists on a quarterly basis until thirty (30) days before the discovery deadline, at

               which point the parties’ obligations pursuant to this provision will no longer be

               effective.

    V.    RULE 30(b)(6) DEPOSITIONS

          A.   Plaintiffs collectively may take up to twenty-one (21) hours of Rule 30(b)(6)

               deposition testimony per Defendant Group.

          B.   Defendants collectively may take up to eighteen (18) hours of Rule 30(b)(6)

               deposition testimony of each Direct Purchaser Plaintiff.

          C.   Examination time shall be increased for any portions of Rule 30(b)(6) depositions

               that are conducted through an interpreter at a ratio of seven (7) to thirteen (13)

               hours.




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           D.      A party may designate any individual as its corporate representative to testify in

                   response to a Rule 30(b)(6) notice, including an individual whose deposition has

                   been noticed or taken pursuant to Rule 30(b)(1).

           E.      A recipient of a Rule 30(b)(6) notice must assert any objections to the topics

                   identified in the notice, and/or move for a protective order within twenty-one (21)

                   days of receipt of the notice, absent agreement of the parties. If a recipient of a

                   Rule 30(b)(6) notice timely objects to a notice, or any portion of a notice, the

                   parties will promptly meet and confer and attempt in good faith to resolve the

                   dispute, and the deposition will be stayed pending resolution of the objections or

                   motion.

                   Plaintiffs collectively shall serve on each Defendant Group from which Plaintiffs

                   seek Rule 30(b)(6) testimony no more than two (2) non-duplicative notices that

                   identify all topics for which Plaintiffs seek testimony from that Defendant Group.

                   Defendants shall collectively serve on each Direct Purchaser Plaintiff from which

                   the Defendants seek Rule 30(b)(6) testimony no more than two (2) notices that

                   identify all topics for which Defendants seek testimony from that plaintiff entity.

    VI.    OBJECTIONS

           During a deposition, any objection by counsel for any Plaintiff shall be deemed an

    objection on behalf of all Plaintiffs, such that it shall not be necessary for counsel for each

    Plaintiff to separately join in an objection on the record or to separately state its objection(s) to a

    question on the record in order for all other Plaintiffs to preserve said objection(s). Likewise,

    any objection by counsel for one Defendant shall be deemed an objection on behalf of all

    Defendants, such that it shall not be necessary for counsel for each Defendant to separately join


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    in an objection on the record or to separately state its objection(s) to a question on the record in

    order for all other Defendants to preserve said objection(s). All counsel shall avoid repeating

    objections already preserved. However, nothing in this paragraph shall preclude any party from

    stating its own objection(s) on the record if that objection has not been previously made by other

    counsel.

    VII.    REMOTE PARTICIPATION

            To minimize travel and related costs, counsel for a party that has a right to attend a

    deposition may do so by telephone to the extent permitted by law and otherwise practicable. A

    party that elects to have its counsel participate in a deposition by telephone shall do so at its own

    risk and such participation shall not be disruptive to the deposition. Counsel that intends to

    attend a deposition by telephone must notify the Serving Party no less than ten (10) business

    days in advance of the scheduled start time of the deposition. To the extent permitted by law and

    otherwise practicable in the location where the deposition is scheduled to take place, counsel for

    the Serving Party shall make arrangements so that a conference call line and a real-time video

    and text feed are available during the deposition. In the event that a conference call line or real-

    time video and text feed are not available despite the reasonable efforts of the Serving Party to

    provide for those services, the deposition shall not be delayed but shall proceed as noticed.

    Parties that remotely participate by using telephone, real-time video and/or text feed, or any other

    means to facilitate remote participation, will be responsible for paying the costs of the telephone,

    real-time video and/or text feed (or other means of remote participation) in a timely manner.

    Examining counsel and counsel intending to participate by telephone shall cooperate in good

    faith to facilitate such participation.




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    VIII. EXHIBITS

          A.   Pre-Designation:       Not later than four (4) business days before a deposition,

               counsel for each party that intends to examine a deponent (“Examining Counsel”)

               may serve via email a non-binding list of documents (by document production

               (Bates) number) that counsel anticipates using or referring to during the

               deposition, including electronic copies and, where applicable, their translations.

          B.   Copies:   Examining Counsel shall be responsible for bringing copies of any

               documents used at a deposition (whether or not they are pre-designated),

               including translations where applicable, for the witness, counsel for the witness,

               and the interpreter(s). Examining Counsel need not otherwise bring copies of pre-

               designated documents for any counsel present at the deposition. If Examining

               Counsel does not pre-designate documents, then Examining Counsel shall bring

               one (1) copy of each document used at a deposition (including translations, where

               applicable) for each Plaintiff Group, Individual Participant and Defendant Group.

               In all events, Examining Counsel, defending counsel, and all other counsel

               attending the deposition shall cooperate in good faith so that counsel for each

               party attending the deposition will have adequate access during the deposition to

               any document, and its English translation where required, used by Examining

               Counsel during the deposition.

          C.   Use of translations:

               1.     Any party intending to use as an exhibit at a deposition a document that is

                      not in English shall use best efforts to have copies of a translation of any

                      such document for all parties at the deposition. In the exceptional


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                     circumstance that, despite best efforts, Examining Counsel has not been

                     able to secure a translation, Examining Counsel must provide counsel

                     attending the deposition a reasonable opportunity to examine the

                     document with the interpreter and/or check interpreter (see Paragraph IX

                     below) present at the deposition. The document at issue shall not be

                     shown to the witness being deposed prior to examination of the witness

                     concerning the document by Examining Counsel, and prior to examination

                     of the witness concerning the document by Examining Counsel no one

                     except Examining Counsel shall speak with the witness being examined

                     about the document at issue except to the extent an interpreter determines

                     that it is necessary to speak to the witness in order to accurately translate

                     the document. In such a case, the interpreter may speak to the witness

                     before translating the document to counsel. Reasonable time required to

                     review foreign language documents for which no translation is provided

                     pursuant to this paragraph shall count against the time allotted to

                     Examining Counsel in this Order if the document was produced more than

                     one (1) month before the deposition.

               2.    Objections regarding the accuracy of a translated document shall be stated

                     on the record and preserved with the statement “Object to translation.”

                     Use of a translated document during a deposition by an examining party

                     does not constitute a waiver of such objections by that party.

               3.    For depositions occurring sixty (60) or more days before the discovery

                     deadline, objections to the accuracy of any document translations shall be


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                      asserted within sixty (60) days after the final transcript of the deposition is

                      provided to the witness for correction. For depositions occurring less than

                      sixty (60) days before said deadline, the parties agree to meet and confer

                      to determine a shorter deadline for objections to the accuracy of any

                      document translations. Objections shall state the specific challenges to the

                      accuracy of the translation and offer an alternative translation of the

                      portions of the document objected to. If the parties are unable to resolve

                      the dispute, it shall be submitted to the Court for resolution.          If no

                      objection is made to a translation within the sixty (60)-day or agreed upon

                      limit, the portion(s) of the translation used during the witness’s

                      examination shall be deemed accurate, and no objection to admissibility

                      on the grounds of inaccuracy of the translation will be permitted absent

                      good cause.

               4.     If a translated document is used during the deposition, the original and the

                      translation shall be marked consecutively as “Exhibit #” and “Exhibit #-

                      A”.

          D.   Notice to counsel attending remotely: Examining Counsel shall read the Bates

               numbers of exhibits used at a deposition so that parties that participate in

               depositions by telephone can access those documents.

          E.   Sequential Marking: The parties shall use their best efforts to mark deposition

               exhibits sequentially, to not re-mark documents that have been previously marked

               as exhibits, and to use the previously marked exhibit number in subsequent

               depositions. The index of exhibits annexed to each deposition transcript shall


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               contain, for each exhibit marked or referred to in the deposition, the Bates

               number, the exhibit number, and a brief description of the exhibit.

    IX.   INTERPRETERS

          A.   Counsel for any witness who will be deposed shall give notice if an interpreter

               will be required (i) within fourteen (14) days of receipt of the notice or subpoena

               for Rule 30(b)(1) or Rule 45 depositions, or (ii) at least fourteen (14) days prior to

               the date on which a Rule 30(b)(6) deposition is scheduled to take place. In the

               event that an interpreter is required, counsel for the Serving Party shall arrange

               the participation of an official interpreter.

          B.   In the event that a “check interpreter” attends the deposition, such interpreter shall

               refrain from any interaction with the lead interpreter, except where a proposed

               correction to the accuracy of a translation is necessary. In that event, the colloquy

               between the check interpreter and lead interpreter shall be translated into English

               and confined to the extent necessary to address the concern of the check

               interpreter. The lead interpreter shall have discretion to decide whether to correct

               any translation, subject to objection by counsel. Absent agreement by the parties,

               neither the lead interpreter nor the check interpreter shall participate in the

               preparation of any witness for that witness’s deposition or for the preparation of

               Examining Counsel for that witness’s deposition.

          C.   An objection to the interpretation of any question or answer must be stated briefly

               and recorded on the record. All objections (not only to the interpretation of any

               question or answer) and colloquy between counsel should be interpreted for non-




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                   English speaking deponents so those witnesses have the opportunity to understand

                   what is happening.

    X.     TRANSCRIPT VERIFICATION

           All witnesses have the right to read and sign the transcript(s) of their depositions. Absent

    an agreement to the contrary, each witness shall have up to forty-five (45) days from the date on

    which the reporter indicates that the witness’s transcript is available to read and sign the

    transcript. Witnesses for whom a translation is required may have sixty (60) days to read and

    sign the transcript. The parties further agree that counsel for the witness may submit any errata

    pages and signatures to the court reporter via email.

    XI.    FIFTH AMENDMENT ASSERTIONS

           A.      If a witness intends to assert the Fifth Amendment of the United States

                   Constitution on any subject, counsel for the Defendant Group associated with the

                   witness shall, to the extent they know, make a good faith effort to notify

                   Defendants, Plaintiff Groups, and Individual Participants of the subjects for which

                   the witness intends to assert the Fifth Amendment no later than thirty (30) days

                   before the scheduled deposition. Upon receipt of notice that a witness intends to

                   assert the Fifth Amendment, the examining attorneys may submit a list of written

                   questions to the witness, delivered no fewer than five (5) business days before the

                   deposition is scheduled to begin. At the deposition, the written questions and any

                   associated documents will be introduced as an exhibit to the deposition, and the

                   witness shall be asked summarily whether the witness would assert the Fifth

                   Amendment to each of the written questions if they were posed individually. If

                   the answer to the summary question is “yes,” use of the questions and answers at


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                trial will not be precluded on the basis that the written questions were not asked

                and answered individually.      The use of the written questions and associated

                documents shall not prevent additional questions from being asked of the witness,

                although additional questioning may not exceed one (1) day, regardless of

                whether an interpreter is used. A 30(b)(6) deposition of a witness who invokes

                the Fifth Amendment as to substantially all questions shall not count against the

                limits on the time for 30(b)(6) depositions provided for in this Order.

           B.   Any person who at a deposition asserts his or her right not to testify under the

                Fifth Amendment will be bound by that assertion of the privilege and shall not be

                permitted to revoke that assertion and testify otherwise at trial if allowing the

                person to testify would be unduly prejudicial to another party. There is no undue

                prejudice where notice of intent to revoke is provided and the person is made

                available for deposition sixty (60) days prior to the close of fact discovery. A

                rebuttable presumption of undue prejudice shall apply, however, if the person,

                after revoking the assertion of that privilege, is not made available for deposition

                at least sixty (60) days prior to the close of fact discovery.    Notice of intent to

                revoke the assertion of privilege shall be provided to all Parties in writing. If such

                notice is provided and the person is not available for deposition until after the

                close of fact discovery, the revoking person shall make himself or herself

                available for deposition at his or her expense in San Francisco, California, Detroit,

                Michigan, New York, or Washington, D.C. Any such deposition shall not count

                against the total depositions permitted by paragraph III.A.

    XII.   MODIFICATIONS TO ORDER


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           This Uniform Deposition Protocol Order is binding on all parties to the Auto Parts Cases,

    including all current and future parties, and may be modified only by agreement of the parties or

    by order of the Court upon a showing of good cause.


    IT IS SO ORDERED.



    Date: __________, 2015                              _____________________________
                                                        GENE J. ESSHAKI, SPECIAL MASTER




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